Case 07-11047-CSS Doc 10238-4_ Filed 11/14/11 Page 1 of 18

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

x Chapter [1
In re: :
Case No. 07-11047 (CSS)
AMERICAN HOME MORTGAGE HOLDINGS, INC.,
a Delaware corporation, et al.,4 > Jointly Administered
Ref/ Docket No. 10184, 10183 & 10182
Debtors.

x
TABLE OF CONTENT FOR EXHIBITS

I. Exhibit 100 Securitization Chart of AHMA 2006-3

Hl. Exhibit 100B Bloomberg Screen view of loan no. 001345090 in
AHMA 2006-3 Pool of Assets.

Hil. Exhibit 200 “New Foreclosure Appeals Announced by Feds”
news article from Atlanta Journal-Constitution

IV. Exhibit 300 Form 15 Termination Filed with Security &
Exchange Commission on January 29, 2007

V. Exhibit 400 APR Disclosure Documentation APR WIN version
6.2.0 Calculation

VI. Exhibit Order 13

VIL. Exhibit D- RESPA Investigation Letter Case No. 09-1699)

VHI. Exhibit D2- AHMSI Legal Department Response to RESPA
Investigation

IX. Exhibit G- Final Truth-In-Lending Statement,

X. Exhibit G2- Glossary

XI. Exhibit G3- Illustration 1 Important Facts About Interest-only
and Payment Option Mortgages

XII. Exhibit G4 Illustration2 Sample Mortgage Comparison

XIII. Exhibit H- Right to Cancel

XIV. Exhibit J-Uniform Residential Loan Application

‘4 The Debtors in these cases, along with the last four digits 0” each Debtor’s federal tax identification

number, are: American Home Mortgage Holdings, Inc. (‘AHM Holdings”), a Delaware corporation (6303);
American Home Mortgage Investment Corp. (“AHM Investment”), a Maryland corporation (3914);
American Home Mortgage Acceptance, Inc. (“AHM Acce tance”), a Maryland corporation (1979); AHM
SV, Inc. (f/k/a American Home Mortgage Servicing, Inc.) (“AHM SV”), a Maryland corporation (7267);
American Home Mortgage Corp. (“AHM Corp.”), a New York “orporation (1558); American Home
Mortgage Ventures LLC (“AHM Ventures”), a Delaware limited liability company (1407); Homegate
Settlement Services, Inc. (*Homegate”), a New York corporation (7491); and Great Oak Abstract Corp.
(“Great Oak”), a New York corporation (8580). The address for all of the Debtors is 538 Broadhollow
Road, Melville, New York 11747.

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Unassociated Document

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~ Ehibit 100

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Page 21 of 375

Mortgagors
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American Home Mortgage financed American Home Mortgage
Investment Corp. (or an Servicing, Inc.
affiliate thereof) Servicer
Originator
loan payments and
month! rts
purchase loan purchase L yep
loans price Wells Fargo Bank, NA.
c Master Servicer
American Home Mortgage Aggregates collections
Corp. L
Sponsor ~,
Purchases loans Swiss Re Cinbank, NA
Financial —_—
Forms pool Pre d * Calculates cashflow
roduc ts Rernits to investors
asset pool net offering Corporation Represents investors interests
proceeds t
net offering oe
American Home Mortgage proceeds Deutsche Bank Securities
Assets LLC Underwriter
Depositor * Sells certificates to investors
= EP OSOT . certificates
Creates issuing entity
“sent certificates offering
poo , proceeds
American Home Mortgage
Assets Trust 2006-3
Holds pool, Issues certificates ”
Devtsche Bank National Trust Company
Custodian
Holds mortgage loans
Deutsche Bank AG
Swap Provider
Clase III-A-1-1 interest * Clee ITA
is II]-A-1-
rate swap payments Interest Rate Swap certificates
Grantor Trustee, on behalf of ayments
the Issuing Entity Investors

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New foreclosure appeals announced by feds | ajc.com http://w ww.ajc.conybusiness/new-foreclosure-appeals-announced- 1...

New foreclosure appeals announced by feds
The Atante Journal Consituion Exhibit 2 OO

11:55 a.m. Tuesday, Noverrber 1, 2011 '

Homeowners in foreclosure in 2009 and 2010 can request inclependent foreclosure reviews and get
restitution if they were financially harmed by errors or misreprasentations by 14 of the nation's largest
loan servicers, according to a new program announced Tuescay.

As many as 4.5 million homeowners nationwide who believe 14 loan servicers, including the largest
operating in Georgia, unfairly or illegally foreclosed upon them will get a chance to ask for an independent
review and could get restitution under a federally prescribed program.

it was unclear how many Georgians’ loans were being serviced by the businesses, which include Wells
Fargo, SunTrust Banks, Bank of America and JPMorgan Chase & Co. Also unclear is how Georgia's
foreclosure process, which doesn't include the courts, will affect the appeal.

John Waish, the acting U.S. Comptroller of the Currency, announced the program Tuesday morning as
part of the ongoing consent order requiring servicers to correct deficiencies discovered by earlier
reviews of records.

information can be found at www.|ndependentForeclosureReview.com

Last month Walsh said the impact of the new federal program or amounts of payouts to homeowners will
be uncertain until it gets under way.

“The amount of restitution is open-ended and will only be knovin when the process ends,” he said ina
speech.

He outlined the appeal process saying homeowners who think they were financially harmed due to
servicer errors, deficiencies or misrepresentations during foreclosures that were in process in 2009 and
2010 will be able to contact a single phone number, website or mailing address to get forms and make
appeais. Each case will be reviewed by independent consultants hired by banks but who will work at the
direction of his office, Walsh said.

John R. Bartholomew IV, an attorney with the Atlanta Legal Aid Society's Home Defense Program, said,
the details of the program will determine how much this might impact Georgia homeowners.

“Ultimately, it’s going to take a while to see if the results are fair, and if they are compensating borrowers
fairly.”

Find this article at: &) Print this page [=] Close
http://www. ajc. com/business/new -foreclosure-appeals-announcec!-1214065.htmi

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UNITED STATES
SECURITIES AND EXCHANGE COMMISSION
Washington, D.C. 2€549

FORM 15

CERTIFICATION AND NOTICE OF TERMINATION OF REGISTRATION UNDER SECTION
12(g) OF THE SECURITIES EXCHANGE ACT OF 1934 OF SUSPENSION OF DUTY TO FILE
REPORTS UNDER SECTIONS 13 AND 15(d) OF THE SECURITIES EXCHANGE ACT OF 1934.

Commission File Number 323-131641-03

(Exact name of registrant as specified in its charter)

938 Broadhollow Road, Mellville, N. Y. 11747
(Address, including zip code, and telephone rumber, including area code,
of registrant's principal execttive offices)

Class I-A-1, Class I~A~2-1, Class I-A-2-2, Class I-A-3, Class II-A-1-1,
Class II-A-1~2, Class II-A-2, Class II-A-3-1, Class II-A-3-2,

Class III-A-1-1, Class III-A-1-2, Class III-A-2, Class ILI-A-3-1,

Class III-A-3-2, Class M-1, Class M-2, Class M-?, Class M-4, Class M-5,
Class M-6, Class M-7, Class M-8

(Titles of all other classes of securities for which a duty to file reports
under section 13(a) or 15(d) remains)

Please place an X in the box(es) to designate tre appropriate rule
provision(s) relied upon to terminate or suspenc the duty to file reports:

Rule 12g-4(a) (1) (i) [ ] Rule 12h-3(b) (1) (i) [X]
Rule 12g-4(a)(1) (ii) [ } Rule 12h-3(b) (1) (ii) [ }
Rule 12g-4(a) (2)(i) ( ] Rule 12h-3(b) (2) {i) [ ]
Rule 12g-4(a) (2) (ii) [ ] Rule 12h-3(b) (2) (ii) [ ]

Rule 15d-6 (X]

Approximate number of holders of record as of the certification or notice
date: 70

Pursuant to the requirements of the Securities Exchange Act of 1934
American Home Mortgage Assets Trust 2006-3 has caused this
certification/notice to be signed on its behalf by the undersigned duly
authorized person.

Date: January 29, 2007 By: /s/ Karer Schluter

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Karer Schluter
Vice President

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Instruction: This form is required by Rules 12g-4, 12h-3 and 15d-6 of the
General Rules and Regulations under the Securities Exchange Act of 1934. The
registrant shall file with the Commission three copies of Form 15, one of
which shall be Manually signed. It May be signec by an officer of the
registrant, by counsel or by any other duly authorized person. The name and
title of the person Signing the form shall be typed or printed under the
signature.

Persons who respond to the collection of irformation contained
in this form are not required to respond urless the form displays
a currently valid OMB control number.

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Sensi tive Information

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APR Disclosure Documentation

Prepared By: Cherry Tree Audit Services
Date: 11/11/2011

Borrower's Name: Hussain Kareem

Account Number: 001350490

Name of Lender:
Original Creditor:

Loan Information - Original Input

Amount Financed:

Disclosed (Estimated) APR:

Disclosed Finance Charge:

Loan Secured by Real Estate or Dwelling:
Loan Date Earlier than 9/30/95:

Payment Frequency:

Disclosure Information - Output

Amount Financed:
FINANCE CHARGE:

Total of Payments:
ANNUAL PERCENTAGE RATE:

** VIOLATION ** APR is overstated by:

** VIOLATION **

Payment Number of

Stream Payment Amount Payments
1 $580.51 44
2 $1,119.02 316
3 $1,200.82 1

Finance Charge is overstated by:

Amercian Business Conduit
Amercian Home Mortgage Corp.

$159,200.00

Monthly (Installment Loan)

7.0100 %
$248,209.24
No
No
$159,200.00
$221,153.58
$380,353.58
6.3354 %
0.6746 &
$27,055.66
Whole Unit Odd
Periods Days
1 0
45 0
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202 7080502

Case U7-11047-CSS” Doc 10238-4 Filed 11/14/11 Page 8 of 18
Office of RESPA 01:33:4S5p.m. 03-22-2009

? \ U.S, DEPARTA MENT OF HOUSING AND URBAN DEVELOPMENT
* WASHINGTON, D.C. 20410-8000

a cxnbit D

September 22, 2009

Hussain Kareem
2197 Carlysle Creek Drive
Lawrenceville, GA 30044

Subject: RESPA Case Number FR-09-1699
Dear Hussain Kareem:
Thank you for your letter cconcerning certain problems you have experienced in the

transfer of servicing of your loan with American Home Mortgage Servicing, Inc.(AHMSD).
HUD’s Office of RESPA and Interstate Land Sales administers the Real Estate Settlement

* Procedures Act, more commonly, called RESPA. A RESPA fact sheet is enclosed.

You sent a qualified writtten request to the lender explaining the problem. Please note
that lenders do not have an obligaation to explain why they have sold the servicing of your loan.
You should have received a notic:¢ of the transfer of your loan servicing at least 15 days before
the effective date of the transfer fifrom your old servicer and no later than 15 days after the
effective date of the transfer froma your new servicer. HUD's office of RESPA further inquired to
AHMSI regarding their alleged fi ailure to provide you with proper notification. AHMSI's
response to this inquiry is enclosed. Unfortunately, HUD has no penalty if the lenders fail to give
timely notice. If you sustained daamages, however, you may be able to recover them in court.
Please consult with an attorney fo>r further legal advice.

Under RESPA, the servic:er has 60 business days in which to respond to a qualified
Written request. If your servicer { fails to comply with the complaint resolution process set out in
Section 6 of RESPA, you could ssue for money damages. We are unable to sue for damages on
behalf of an individual. This office generally does not get involved in disputes over payments
but would become involved if the lender failed to comply with Section 6’s provisions. Please let
us know if your servicer fails to o:orrect the problem to your satisfaction. We will then be able to
better monitor this servicer for fu ture compliance with our regulatory requirements.

__ We hope your letter bring:s about the results you desire. Should you have any questions
conceming this matter, please corntact Kevin L Stevens at (202) 708-0502.

Sincerely,

18
Case 0/7-11047-CSS” Doc 10235-4 Filed 11/14/11 Page 9 of 18
202 7080502 Office of RESPA 01:34:14p.m. 09-22-2009

Ivy M. Jackson
Director
Office of RESPA and
Interstate Land Sales

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202 7080502

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Office of RESPA 01:34:23 p.m. 09-22-2009

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ABMS eu’.

Seeiny »

August 18, 2009
VIA: FACSIMILE ONLY: (202) 706-4559 ~—-
Housing of Urban Developme: nt- Office of RESPA
Atta: Kevin Stevens
451 Seventh Street, Room 915-4
Washington, DC 20410
Ret AHMSILosa No(s): , 0031256902
Borrower(s): Hassain Karoem
Secured Property: 2197 Carlysle Creek

. Lawrenceville, GA 300
Dear Mr, Stevens:

This lotter is the response of ‘American Home Mortgage Servicing, Inc. (AHMS!) tn connection
with the above-referenced mor rtgago loan.

Please be advised that Americ::an Home Mortgage Servicing, Inc. is the current mortgage servicer
of the above mentioned mortg: ags loan effective as of April 2008. You should note that AHMS!
is not affilisted or related to tthe mortgage fender or mortgage broker involved in the origination
of the loan. AHMSI plays a limited role in servicing mortgage loans and cannot pass on the
validity of these origination 1 related claims. These issues should property be directed to the
original mostgage leaxler, Aux cricen Home Mortgage which can be contacted at the following lest
known address, 538 Brosdholt low Road, Melville NY 11747,

The owner is ARMA 2006-3.. The owner can be contacted at the following address.
AHMA 2006-3
c/o American! Fome Mortgage Servicing, Ino.
1525 S. Bekti ne Road
Coppell, Texa 1s 75019

Should you have any forther questions, plesse contact the Customer Care Department; toll free et
(877) 304-3100 (M-F 7:00am - —9;00pm CST).

Best regards,

Legal Department
American Home Mortgage Set rvicing, Inc.

‘This communication is thane 0 debt collect ior but does eat enply teat American Hameo Mortgage Servicing, inc, is altcenpting to collect
money fom anyone whose debt hes been \ Gotecgnd recount to (or who is under the preacation of the bantreptoy laws of the Untied
States; in exch instances, {fe intended a0} lely thr inthomations! pumposes and Gets not eonatinute ¢ demsnnd for peymect.

1525 : S, Belifine Rd., Coppell, Texas 75019

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LENDER OR LENDER'S AGENT: ymericen Brokace Conduit .
on 328 ‘own Park Drive Suite «50 [CV pretinissry — _] Pica
Kennesaw, GA 30144 DATE; 07/07/06
LOAN NO.:
BORROWERS: aein Karees ‘Loan:
™ RP'No. 29002350490
ADDRESS: 2197 Carlyele Creek Drive

CITY/STATE/ZIP: Lawcenceville, GA 30044
PROPERTY: 2197 Carlysle Creek Drive

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overdue payment.
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Glossary
Adjustable-rate mortgage (ARM)

A mortgage that does not have a fixed imserest rate. The rate changes during the life of the Joan in line with movements ia an index
tate, such as the rate for Treasury securities or the Cost of Funds Index. :

Amortizing loan

Monthly payments are large enough to pay the interest and redoce the principal on your mortgage.

Cap, interest rate

A limit on the smount your interest rate can increase. Interest caps come in two versions:
° periodic caps, which limit the interest-rate increase frona one adjustment period to the uext, and
e overall caps, which limit the interest-rate increase ever the life of the loan. By law, virtually all ARMs must have an overall

cap.

Cap, payment

A limit on bow much the monthly payment may change, either each time the payment changes or during the life of the morigage.
Payment caps do not mit the amount of interest the lender is earning, so they may lead to negative amortization.

Equity
The difference between the fair market value of the home and the outstanding mortgage balance.
Good faith estimate

The Real Estate Settlement Procedures Act (RESPA) requires your mortgage lender to give you a good faith estimate of all your
closing costs within 3 business days of submitting your application for a loan, whether you are purchasing or refinancing a home.
The actual expenses at closing may be somewhat different from the good faith cetimate.

Index

‘The index is the measure of interest-rate changes that the lender uses to decide how much the interest rate on an ARM will change
over time. No one can be sure when an index rate will go up ot down. Some index rates tend to be higher than others, and some
change more often. You should ask your leader bow the index for any ARM yon are considering has changed in recem years, and
where the index is reported.

Interest

The price paid for borrowing woney, usually given in percentages and as an sonal rate.

Margin

The number of percentage points the lender adds to the index rate to calculate the ARM inverest rate at each adjustment.

Negative amortization
Occurs when the monthly payments do not cover all the interest owed. The interest that is not paid in the monthly payment Is added

to the loan balance, This means that even after making many payments, you could owe more than you did at the beginning of the
loan.

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Dilugtration |
Important Facts About Interest-Only and Payment Option Mortgages

Whether you are buying a house or refinancing your mortgage, this information can hefp you decide if an
interest-only mortgage or 2 payment option mortgage is dght for you. These mortgages can be
complicated. If you do not understand how they work, you should not sign any loan contracts, and you
might want to consider other types of loans.

Interest-Only Mortgages allow you to pay only the interost on the money you borrowed for the first few
years of the mortgage (the “interest-only period”).

If you pay only the amount due, then at the end of the interest-only period:
« You will still owe the original amount you borrowed.
« Your monthly payment will increase because you must pay back the principal as well as
interest. Your payment could increase even more if you have an adjustable rate mortgage
(“ARM”) and interest rates increase.

firet few years of the loan (the “option period”). The option period will end earlier than schedatod if the
amount you owe grows beyond a set limit—for example, 110% or 125% of your original mortgage
amoant.

During the option period, the payment options usually include:

° A payment of principal and interest, which reduces the amount you owe over time.

e An interest-only payment, which does not reduce the amount you owe.

e ‘A minimum payment, which may be less than the interest due that month. Jf you choose this
option, any unpaid interest will increase the amount you owe.

At the end of the option period, depending on what payment options you chose:
© You could owe substantially more than the original amount you borrowed.
© Your monthly payment could increase significantly because:

° You may have to start paying back principal, as well as interest.

o Unpaid interest may have increased the amount you owe.

o Interest rates may have increased (if you have an ARM).

Additional Information

> Home Equity—If you make interest-only payments, your payments are not building home equity.
And, if you make only the mininmm payment on a payment option mortgage, you may be losing home
equity. This may make it harder to refimance your mortgage of to obtxin finds from selling or refinancing
your bome.

> Prepayment Penalties Some mortgages require you to pay a lump-sum prepayment ponalty if you
sell your home or refinance during the first few years of the loan. You should find out if your mortgage
has a prepayment penalty, how it works, and how much it could be.

> No Doc/ow Doc Loans—"“Reduced documentation” or “stated income” loans usually have higher
interest rates or other costs compared to “£11 documentation” Joans that require you to verify your income
and assets.

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REGULATION Z
OTICE TO CUSTOMEBS REQUIRED BY FEDERAL LAW FEDERAL RESERVE
" NOTICE OF RIGHT TO RESCIND (GENERAL)

NOTICE OF RIGHT TO CANCEL
Conventional ACCOUNT NO. 0001350490
(licatificetion of Tramsaction)

1. Your Right to Cancel

You are entering into a transaction thet will result ins (mortgage/tiow security interest) (on/in) your
ome. You have a degal rig under fedcral law to cance! this transection, without cost, within THREE
BUSINESS DAYS from whichever of the following events occurs last

qQ The date of the transaction, which is July 7, 2006 :or
The date you received your Truth in mn disclosures; oF
8 The date you received this aotice of your to cancel.

money or property CALENDAR DAYS of your offer, you may keep it without farther obligation.
2. How to Cancel
. pe : ine, ot
V you deci cnc tis eee TE See Wceaes
ow

520 Broadho: Road
Malville, WY 11747 Attu. Mail Stop 800

You may usc any written statement that is signed end dated by you aad ststes your Intention to cancel,
and/or you may use this notice by dating and signing belaw. Keep one copy af this notice because it contains

If you cancel by mail or telegram, you must send the notice no Ister than MIDNIGHT of
July 11, 2006 (or MEDNIGHT of the THIRD BUSINESS DAY following the latest of the Unree events
fisted sbove). If you send or deliver your writes sotice to osnce! come other way, it nmusst be delivered to the
above address no later than thet tiree.
1 WISH TO CANCEL

SIGNATURE DATE

The undersigned each acknowledge receipt of two copies of NOTICE of RIGHT TO CANCEL snd one copy of the
Foderal-Truth-in-Lending Disclosure Statement.

Each borrower/owner in this transaction bas the right to cancel. The exercise of this right by ane borrower/owner
shall be effective to all owners.

Hutson L—_ 07/07/2006

BORROWER/OWNER Hussain Xareen DATE BORROWER/OWNER DATE
BORROWER/OWNER DATE BORROWER/OWNER OaTE
DOC §:3942349 APVI. $:0001350490
Aw 8 omn SO TH wzs7
VOIP MORTGAGE FORMS - (HONAT-T20¢
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